Case 2:05-cr-20054-.]DB Document 61 Filed 07/22/05 Page 1 of 3 Page|D 76

Fu¢@ B¥ _`_. Dc
IN THE UNITED S'I‘ATES DISTRICT COUR'I` "'" ‘ ’

FoR THE wESTERN DISTRICT oF TENNESSEE 05
wEsTERN DIvIsIoN JUL 22 P" |’58

 

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UNITED sTATEs OF AMERICA OF"-N¢F""WHW
Plaintiff,

V.

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Criminal NOR(JEZ~ZKIXBW Ml

(30-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT OR.DER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United. States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at §;QQ
a.m. on Fridav, Auoust 26, 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court

at report date this 22nd day of July, 2005.

This document entered en the docket sheet ln cemp|lance

wirh eula 55 and/or az(b) Fech on 712 ,j 'Q § {/ /

Case 2:05-cr-20054-.]DB Document 61 Filed 07/22/05 Page 2 of 3 Page|D 77

SO ORDERED this 22M'day of July, 2005.

/Q»?.W‘CU

JON HIPPS McCALLA
UN ED sTATES DISTRICT JUDGE
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As istant United States Attorney

 

 

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Counsel for Defendant(s)

 

oFTENNESSEE

Noticc of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:05-CR-20054 Wes distributed by feX, meil, or direct printing on
July 25, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

